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                    1   COOLEY LLP
                        MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
                    2   TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                        KYLE C. WONG (224021) (kwong@cooley.com)
                    3   JOSEPH MORNIN (307766) (jmornin@cooley.com)
                        101 California Street, 5th Floor
                    4   San Francisco, CA 94111-5800
                        Telephone: (415) 693-2000
                    5   Facsimile: (415) 693-2222

                    6   DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
                        (dgrooms@cooley.com)
                    7   ELIZABETH B. PRELOGAR (262026)
                        (eprelogar@cooley.com)
                    8   1299 Pennsylvania Avenue, NW, Suite 700
                        Washington, DC 20004-2400
                    9   Telephone: (202) 842-7800
                        Facsimile: (202) 842-7899
                   10
                        O’MELVENY & MYERS LLP
                   11   MICHAEL R. DREEBEN (D.C. Bar No. 370586) (admitted pro hac vice)
                        (mdreeben@omm.com)
                   12   1625 I Street NW
                        Washington, D.C. 20006
                   13   Telephone: (202) 383-5300

                   14   Attorneys for Plaintiffs
                        WHATSAPP INC. and FACEBOOK, INC.
                   15

                   16                                 UNITED STATES DISTRICT COURT

                   17                           NORTHERN DISTRICT OF CALIFORNIA

                   18

                   19 WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
                      and FACEBOOK, INC., a Delaware
                   20 corporation,

                   21                                                PROOF OF SERVICE (APRIL 29, 2020)
                                        Plaintiffs,
                   22
                              v.
                   23
                        NSO GROUP TECHNOLOGIES LIMITED
                   24   and Q CYBER TECHNOLOGIES LIMITED,

                   25                   Defendants.

                   26

                   27                                 REDACTED VERSION OF DOCUMENT
                   28                                      SOUGHT TO BE SEALED
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                                                                                         CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 59-24 Filed 04/29/20 Page 2 of 3



                    1                                       PROOF OF SERVICE

                    2          I am a citizen of the United States and a resident of Virginia. I am employed in Washington

                    3   District of Columbia, in the office of a member of the bar of this Court, at whose direction the

                    4   service was made. I am over the age of eighteen years, and not a party to the within action. My

                    5   business address is Cooley LLP, 1299 Pennsylvania Avenue, Suite 700, Washington D.C. 20004-

                    6   2400. On April 29, 2020, I served the documents described below in the manner described below:

                    7          1. [SEALED] WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior

                    8             Representation in a Sealed Matter;

                    9          2. [SEALED] Declaration of Jacob Sommer in Support of WhatsApp’s Motion to

                   10             Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   11          3. [SEALED] Declaration of Travis LeBlanc in Support of WhatsApp’s Motion to

                   12             Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   13          4. [SEALED] Exhibit A to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   14             Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   15             Matter;

                   16          5. [SEALED] Exhibit B to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   17             Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   18             Matter;

                   19          6. [SEALED] April 10, 2020 Declaration of Daniel J. Grooms in Support of WhatsApp’s

                   20             Motion to Seal Documents Related to WhatsApp’s Motion to Disqualify Defense

                   21             Counsel Based on Prior Representation in a Sealed Matter;

                   22          7. [SEALED] April 29, 2020 Declaration of Daniel J. Grooms in Support of WhatsApp’s

                   23             Amended Motion to Seal Documents Related to WhatsApp’s Motion to Disqualify

                   24             Defense Counsel Based on Prior Representation in a Sealed Matter;

                   25          8. [SEALED] WhatsApp’s Request for Judicial Notice;

                   26          9. [SEALED] Proposed Order Granting WhatsApp’s Request for Judicial Notice;

                   27          10. [SEALED] April 10, 2020 Proof of Service; and

                   28          11. [SEALED] April 29, 2020 Proof of Service.
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                                                                                               CASE NO. 4:19-CV-07123-PJH
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                    2                 (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                                       practice of Cooley LLP for the preparation and processing of documents in
                                       portable document format (PDF) for e-mailing, and I caused said documents to be
                    3                  prepared in PDF and then served by electronic mail to the parties listed below.
                    4   on the following third party:
                    5

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                   11           Executed on April 29, 2020, at Falls Church, Virginia.
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                   14                                                        /s/    Daniel J. Grooms
                                                                                    Daniel J. Grooms
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                                                                                              CASE NO. 4:19-CV-07123-PJH
